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Page 75
Okay.
Do you see the CPT codes —-—
Yes. .

—-- in the left-hand column?

PO PF © PF

Yes,

Q Okay. And we have a CPT code of 63650 at
the top. Do you see that, six?

A Correct.

Q Okay. That's one of the CPT codes used in
this case; is that right?

A Yes. Tnat's for the trial implant.

0 And what does the VA database say that the
charge is under their methodology and their database?

A $21,925.21.

0 And is that the 80 percent usual,
customary, and reasonable charge?

A Yes.

Q Okay. And what was the amount listed in
your report, sir?

A $17,979, which reflects the geographic
adjustment factor for Savannah which is .82. So you
take the national number, the $21,925.21, multiply
that by the geographic adjustment factor for Savannah
for outpatient facilities of .82, and that equais

$17,979.

 

 

 

 

 

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Page 76 |
1 QO Okay. Now, is there anything in this VA |
2 database that says that the spinal cord stimulator |
3 trial and the spinal cord stimulator permanent |
4 implantation are added together in one charge?
3 A No.
6 Q Okay.
7 A But it would be, it would be in the DRG --
8 in an inpatient hospital environment, that would
9 be -- the trial and the permanent would be billed

10 together.

11 Q And where do you get that information from,
12 sir?

13 A Just knowing how Medicare works.

14 Q Can you point to anything that Medicare has

15 published that says that?

 

 

16 A Yeah; with some research TIT think I probably
1? could.

18 O Where would it be found?

19 A In CMS policies and procedures.

20 Q All right. Let's look at number six on

21 your findings.
22 A Okay.
23 Qo You talk about an 80 percent usual,
24 customary, and reasonable reimbursement rate?

25 A Yes.

 

 

 

 

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Page 77
1 Oo Is that the VA again?
2 A Yes. The VA uses the 80th percentile.
3 O Okay. So anywhere we look at 80th
4 percentile on your report, you're referring to the
5 VA? |
6 A Correct.
7 Q Okay. Going on to number seven -- and I
8 think we discussed this earlier, but I want to make
9 sure -- you looked at ambulatory surgery center |

10 charges for spinal cord stimulator and you found one
11 entry for DRG 029 at the Medical University of South
12 Carolina?

13 A Well, it was 14 cases.

14 0 Okay. And we've already discussed that's

15 the closest hospital you found to Savannah, Georgia?

16 A Yes; for that DRG.

17 Qo Okay. At number eight you reference the
18 Georgia statewide average for 87 cases. That came
19 from where, sir?

20 A The CMS database that is --

21 Q And that is -- i'm sorry. Go ahead.

22 A I think I listed the specific web source,

23 Let's see. It's footnoted number 13 on page 7.
24 That's the website.

25 Q What page, sir?

 

 

 

 

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A In my report, page 7, footnote 13 is the
link to that database, When you get into that
database, you have to select Georgia, and then
specifically DRG 029. And that will show you there's
87 discharges. The average charges for those were
$82,593.78. It's a little tedious, but it's in
there.

O Okay. Let's take a look at Exhibit 74,
please.

A Okay.

QO Was 74 part of the database where you got
this information for on finding number eight on the

87 cases from Georgia?

 

A Well, this describes the database. It's
not -- |

QO Okay.

A This isn't the database itself, but it
tells you what's in the database.

QO All right. Let's turn to page 5 of Exhibit
74, please.

A Okay.

QO Down at the bottom at paragraph 6 it
discusses "data limitations"; is that correct?

A Yes.

oO Okay. And it says that, "The data in the

 

 

 

 

 

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1 inpatient PUF may not be representative of a
2 hospital's entire population served"; is that |
3 correct?
4 A That's correct.
5 Q "The data in the file™ has only -- “only
6 has information for Medicare beneficiaries with Part
7 A fee-for-service coverage, but hospitals typically
8 treat many other patients who do not have that form

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9 of coverage," correct?
10 A That's what it says.
11 QO And this is the database you used from

12 Medicare; is that right? | |
13 A Correct.

14 QO Okay. And it says, the inpatient PUF does
15 not have any information on patients who are not

16 covered by Medicare, such as those with coverage from
1? other federal programs, like the Federal Employees

18 Health Benefit Program or Tricare, or those with

 

 

19 private health insurance, or even those who are

20 uninsured.

21 A That's --

22 QO Correct?

23 A -- correct.

24 QO And it goes on to say, "Even within

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25 Medicare, the inpatient PUF does not include |

 

 

 

 

 

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1 information for patients who are enrolled in any form
2 of Medicare Advantage pian," correct?

3 A Correct.

4 Q And then it says, "The file only contains

5 cost and utilization information, and for the reasons

6 described in the preceding paragraph, the volume of

7 procedures represented may not" fully -- "may not be
8 fully inclusive of all procedures performed by the |
9 hospital." Do you see that?
10 A Yes. I do,

il Q And you agree with that statement?

12 A Yes. And what that means is that, for

13 instance, a procedure that would be performed
14 possibly. only on children is not going to be in this
15 database because, you know, basically children aren't

16 covered by Medicare Part A.

17 Q The fact of the matter is a lot of people

18 in the United States are not covered by Medicare Part
19 A?
20 A That's true. But it is the largest

21 segment, I think, in the United States. And, you
22 know, the fact remains that hospitals charge Medicare

23 the same way they charge other patients. They don't

naires

24 have different charge masters for different types of

25 payors. They have one charge master. And those

 

 

 

 

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charges are uniformly applied regardless of the
financial classification of the patient, so what's
billed to a Medicare patient for one service would be-
billed to any other patient for that.same service.

What they collect is different depending upon the

NO oO fm WwW ©

contractual relationships, but here we're talking
7 about charges. And so the sticker price is the same
3 regardless of the payor. l
9 9 Now, Mr. Blount, you're not a medical
10 doctor?
il A You cailed me doctor when we started back

12 again, but fT'm not a doctor.

13 QO You're not a medical doctor?

14 A I said I'm not a doctor.

15 Q Okay. You've never been to medical school?
16 A I have been in a medical school, but never }
17 to attend a class or earn a degree. |
18 Q You haven't taken any medical classes

19° anywhere?

20 A T've taken CPR.

21 QO Okay. That's the extent of your medical l
22 training?

23 A That's the only formal class I can think of

24 right now.

25 Q You don't treat patients for medical

 

 

 

 

 

 

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conditions?
A Only close relatives.
Q Now, your opinion in this case, sir, is not’

that Jackie Orr's future medical care will be free;

that you just feel it snould be less than what is

listed in the reports you reviewed; is that correct?
A I'm saying the charges --

MS. RICHARDSON: Object to the form.

Mane Monae Menken eriaeashenerssanetonasd etearosLceeraL MEG CLAD ad WicE bh HnoeAADR P calacEmertEainntens KAS noee een Noeeaeene Netra

THE WITNESS: -—- claimed in the projection
are substantially higher than published charge
data that I see.

QO (By Mr. Kraeuter} So we can agree that you're

not saying Ms. Orr's future medical care should be

free. Do we agree on that?
A I guess so.
Q Okay. And your opinion is those charges

should be less than what the doctors have listed in
their reports?

MS. RICHARDSON: Object to the form.

THE WITNESS: The charges that have been
listed in their reports are substantially in >
excess of published charges.

QO (By Mr. Kraeuter) You don't have any opinions
regarding Jack -- the cause of Jackie Orr's injury, do

you?

 

 

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A No.

7) You don't have any opinions
diagnosis?

A No.

Q You don't have any opinions

her condition is permanent or not?

A No.

Q You don't have any opinions as to the
appropriateness of the future medical care? L

A No.

Q And you're not going to offer any testimony

in this case about whether a procedure was necessary

or not, or reasonable to perform or not?

A No.

Oo And in looking at your report it did not

appear that you had any opinion as to

reasonableness of any of the doctors'

themselves. I'm not talking about medications or

ambulatory surgery center fees, but just for payment

for the doctor.

A Well, my finding number one deals with the
stellate ganglion block procedure professional fee.
QO That's a fair, that's a fair comment.
Other than that, do you have any opinion as

to the reasonableness or unreasonableness of any of

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on her medical

as to whether

 

 

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fees

 

 

 

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Page 84
tne doctor's fees?

A I don't think so.

QO Okay. That would include the fee for |
implanting the spinal cord stimulator for the doctors
fee portion, correct?

A I don't know. I mean, I've not been asked
to review those.

Q Okay. And you don't have any opinion as to
the reasonableness of the drug testing charges or
office visit charges?

A Excuse me just one minute. Let me look
back here at one of my documents in the file.

I did look at the charges for the trial
implant and the permanent implant.

QO Are you talking about the cost for the
ambulatory surgical center, or are you talking about

the cost for the doctor to do it?

 

 

A The professional fee. '

0 Okay. And where does that appear in your
report? |

A I don't think it's -- = don't think we put
that in the report because it really was not
remarkable.

Oo Excuse me, sir?

A There was ~~ the charge amount, I believe,

 

 

 

 

 

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that's projected for the professional fee for 63650
is $2,055, and that's roughly equal to the 50th
percentile. And the charge for 63685 to the
permanent insertion of the generator was $2,000, and
that's a little bit below the 75th percentile. So we
really didn't have anything to comment on about those
two findings, but I did check them.

QO So, in other words, in other words, you

don't have an opinion as to the unreasonableness of

those doctors' fees?

A I would say those doctor fees are
reasonable.
0 Okay. Now, how much do you earn as an

expert witness in terms of consulting, trial
testimony, deposition testimony, report preparation
for legal cases?

A I'm not compensated separately by that. I
have a salary. That includes -- my salary includes
my work for Health Law Network as well as for my
insurance agency, which is American Benefit Advisors.

QO Do you, do you think that you make as much
as $150,000 a year serving as an expert witness in
various cases?

A Maybe.

QO Have you made that much in past years

 

 

 

 

 

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1 serving as an expert witness?

2 A Well, as I said, I -—- I'm not compensated

3 separately by type of service. I have a single

4 salary that, that is for my work for both Health Law

5 Network as well as American Benefit Advisors. It's |
6 not two separate --

7 QO You own and run -- |
8 A ~~ checks.

9 0 All right. You own the company, correct?

10 A fo oown part of the company. .
11 Q Okay. So you would have access to the data
12 of now much of your business, how much of your fees,
13 how much the company makes comes from you serving as

14 an expert witness, would you not?

15 A We don't calculate. That's not a

16 calculation that we make.

1? O Okay. And your testimony, as you sit here

18 today, is that you are not aware whether you've made

19 as much as $150,000 in past years through your expert
20 witness services?

21 A Correct. I don't know the number because |
22 it's not =+
23 QO Okay.
Z4 A I've never caiculated it.

25 Q Does that amount surprise you or shock you |

 
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where you say, oh, absolutely I've never made that
much in the past as an expert witness in a year?

A I don't feel shocked.

0 Okay.
A SO...
Q And how many cases are you serving as an

expert witness on at this time where you're preparing
reports, preparing for depositions or trials?

A Over 40.

 

 

QO Okay. How much time do you spend as an

es tienda

expert witness or serving in your expert capacity as
opposed to non-expert in your business?

A I would say expert witness work might be
25 percent of my total professional time.

QO Okay. And have you ever broken down what
percentage of your cases you are testifying for the
defense versus the plaintiff?

A Yes,

Q And what's that percentage?

A Overall it's been 45 percent for plaintiffs
and 55 percent for defendants.

oO Okay. Now, before today, how many times

have you met with either Ms. Richardson or anybody

 

 

from Drew Eckl & Farnham or anybody representing

defendant in this case?

 

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A I don't think we've ever met in person.
Q Okay. When were you first contacted in

this case?

A Let me see. I believe it was July 26th,
2016.

Q Okay. Do you know what you've charged so

far for fees in this case?

 

 

A Yes, $7,180.50.

Q Okay. My understanding, sir, is in terms
of the materials you were provided by counsel for
Macy's that would include the expert report of
Dr. Harben, Dr. Niederwanger and Dr. Plumly; is that
correct?

A Yes.

9 Okay. Anything else you've been presented
or provided by counsel for Macy's?

A The complaint, the answer, the amended
complaint, the answer of Macy's to the -—- to
plaintiffs' amended complaint, the second amended
complaint, and defenses and answer of the defendants.

QO Anything else, sir?

A That's, I believe, all that we've been
provided by the attorneys.

QO Have you spoken with any of Jackie Orr's

doctors in this case?

 

 

 

 

 

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A Not that I know of.
QO Or corresponded with them in any way?
A No.
QO B-mail? Letter?
A No.
QO Okay. Have you spoken with any other

witnesses involved in this case?

A Not that I know of.

Q Now, let's take a look at Exhibit 72 again,
sir. That's the Medtronic document.

A Okay.

Q Would you agree with me that this Medtronic
document uses a national average to come up with its
numbers?

A Well, there's some numbers -- there's CPT
numbers, There's, there's all kinds of numbers in
here. But for the Medicare national average numbers,
those are, as described, Medicare national averages.

Q Did you use this document to come up with

any appropriate charges for Ms. Orr?

A No.
Q What did you use this document for?
A To identify how the manufacturer expected

the device to be used; you know, what types of

patients, what -- and specifically what DRGs they see

 

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this device being used in.

Qo And we've discussed those DRGs thoroughly,
have we not?

A I'm not sure what you mean by "thoroughly."
We probably could discuss it some more if you want
to. For instance, I guess a further explanation of
the DRGs, 520, even though the reason for the
neurostimuiator implant is different than RSD, it
still does include a neurostimulator implant.

QO And the prices are significantly different,

are they not?

A Well, these rates that you're -- iff you're

 

 

looking on page 13 of that exhibit, those are
national average payment rates that Medicare has,
That's not the charge amounts,

Q Okay.

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A But we did identify DRG 520 charges for two
Savannah hospitals.

QO Let's take a look at Exhibit 76, please.

A Okay.

QO Now, are these the DRG 029 procedures for

the CMS database?

A Yes. So you --
QO Okay.
A I can see from this that you did --

 

 

 

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Page 91 f[

somebody in your office has been to that website that
I identified earlier in footnote 13.

Q Okay. So if I look at footnote 13 and I
pull up the database I'm getting a whole lot of DRG
charges, but the ones that you're looking at under
DRG 029 appear on Number Exhibit 76; is that right?

A No. There's also another table at that
website that has the statewide averages. You're
look -- this is a printout from the national part of
the database which would list the individual
hospitais; and, again, only disclosing those
hospitals who report 11 or more instances. And that
number you'll notice in the fourth from the right
column, that's the number of cases.

50 for the first line item on Exhibit 76
you'll see that for that hospital, NUSC in
Charleston, South Carolina, they show 11 instances of
that DRG. And that line is actually DRG 28. But
that's -- if you want to know the frequency of the
cases, that's in that fourth from the right-hand
column. So hospitals that have less than 11
instances would not be in this part of the database,
but would be included in the statewide average part
of the database. |

Q And the statewide average part of the

 

 

 

 

 

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Page 92
database would list the individual hospitals that

reported?

A No, It does not.

0 Okay.

A There's one single line for DRG 29 for
Georgia.

0 Okay.

A And that's the one that shows $82,594
rounded.

Oo Now, this CMS database does not talk about
whether the spinal cord stimulator trial and spinal
cord stimulator permanent implant are bundled
together or not?

A The database doesn't say that, but that's
how Medicare claims are submitted. If you have a
planned procedure, a two-step-type procedure such as
this where you do the trial and then the permanent if
the trial is successful, then the, the hospital
submits only one claim. They would hold that claim
after the first -- or the trial implant was
completed. And then after whatever determination
time they choose to make, they decide whether or not
a permanent is going to be done or not. If the
permanent is done they include the charges for that,

and it goes all in on one bill for that DRG 29,

 

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O Okay. Well, let's look at Exhibit 76.

A Okay.

QO Right at the top, the first entry is
University of Alabama Hospitai. Do you see that?

A For DRG 29. Yes.

Q In Birmingham?

A Yes.

Q And they charged just over $89,000 to

implant a spinal cord stimulator?

A Let's see. Okay.
Q Tsn't that correct?
A I don't know. It's kind of hard to read on

my copy. It looks like 98,000.
Q 98,000?
A Yes.
Q I'll take it.

Do you know whether the particular
procedure and usage of the spinal cord stimulator for
Jackie Orr is the same as what's listed in this
database? And maybe that's a badly worded question.

In other words, this DRG 029 says it's for
spinal procedures W CC, or spinal neurostimulators.
Do you see that, sir?

A Yes.

Q So this database and the statewide database

 

 

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you talked about with 87 other entries could be for
procedures that don't include a spinal cord
stimulator?

A ‘Possibly.

Q Okay. You can't rule that out?

A I believe that's correct.

QO Okay. And these other possible procedures
may have a charge or a cost that's higher or lower
than the cost to implant a spinal cord stimulator,
correct?

A Yes.

Q But you don't know if they're higher or
lower or not, correct?

A Correct. This is not -- they don't
disclose individual cases. These are all DRG 29
cases for that _-

QO All right.

A -- particular nospital.

Q So if we look at the University of Alabama
Hospital entry -- that's the first DRG 029 entry --
it looks like they had 13 of the DRG 029 type
procedures in 2014; is that correct?

A Yes.

QO All right. Tell me how many of those 13

procedures were for the implantation of a spinal cord

 

 

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stimulator.
A You can't tell from this.
Q You don't know?

A Weli, yes. I don't know. You can't tell
from this.
Q All right. It could be 13, correct?
Could be as many as 13. Yes.
Could be zero?
Tt's possible.

Okay. Could be 4?

> Oo PF OO F

It could be any number between zero and 13.
QO Okay. And that would be true about the

Georgia statewide database you referenced that has

 

 

the 87 other cases reported; is that correct? :
A That's correct.
QO Okay. And looking again at Exhibit 76 at

. the University of Alabama Hospital entry for the
approximately $89,000 -- excuse me, $98,000 charge,

that's an average of all 13 of those procedures,

 

 

   
  
   
 

correct?
A That's correct.
QO Okay. And so if we have other spinal

procedures coded under DRG 029 that are not the
implantation of a spinal cord stimulator and those

procedures happen to be less than the cost of putting

 

 

 

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Page 96 |
in a spinal cord stimulator, that's going to skew the

$98,000 average number low, wouldn't it? i

A Well, it would change the average.

QO It would bring it down?

A Yes, |

QO And you don't know how far down under that

scenario because you don't have any underlying data?

A That's correct.

Q Okay. Now, let's look at a few of these
other charges or entries on Exhibit 76, It looks
like the third entry down, St. Joseph's Hospital and
Medical Center in Phoenix, Arizona, their average
charge is over $148,000, correct?

A Yes.

Q University of California San Francisco
Medical Center in San Francisco is over $191,000 for
this particular DRG code number, correct?

A Yes. And more than two and a half hours
away.

QO University of California Davis Medical
Center for the same coded procedure is over $227,000.

A Yes.

QO Correct?

Okay. Now, if we go down to further on

down the list to Massachusetts General Hospital,

 

 

 

 

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Page 97
their average charge is $137,000?
A No.
QO Or over, over $137,000. 134. Over
$134,000; is that right?
A Correct. Yes.
QO If we go to San Antonio, Texas down at the

bottom, Methodist Stone Oak Hospital, over $132,000,

correct?
A Yes.
QO Okay.

A All more than two and a half hours away by
drying; some by flying. |

0 We can, we can agree, doctor, that these
procedures for the, for the implantation of the
spinal cord stimulator, it's expensive no matter how
you slice it.

A "Expensive" is a relative term. I'm not

sure what you want to compare it to.

9 Okay.
A Tt's not expensive to -- in comparison to,
you know, many other procedures. It's more expensive

than many procedures too. Generally speaking,
though --
QO Now --

MS. RICHARDSON: Hang on. He's answering.

 

 

 

 

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Page 98

0 (By Mr. Kraeuter) Go ahead.

A Generally speaking, though, the -- it's
true that some hospitals are going to have higher
charges than average, and others are going to have
lower charges than average. That's just how math
works. Unless everybody charges identically the same
thing, then everybody is average.

So the other important point I would make
here is that all of these are inpatient cases. These
are patients that stay overnight. Many of these are
three or more days of inpatient care even if they
don't have a neurostimulator implant. So, you know,
the tendency would be any time that you are --
generally when you are comparing inpatient hospital
charges to ambulatory surgery center charges, the
hospital charges generally are going to be
Significantly higher because it includes overnight
stays and additional services, the cost of standby
services, 24-hour departments that run that you just
don't have that kind of overhead in an ambulatory
surgery center, so...

0 Well, let me ask you this, Mr. Blount, and
let's be clear: You're the one that chose what
databases to use in this case for your opinions,

correct?

 

 

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Page 99 |

A Right. And basically what I'm saying is
that the charges for this procedure to be done on an
outpatient ambulatory surgery center basis should not
exceed what would be charged if it were done on an
inpatient hospitalization.

QO Do you have any data on the charges that
are charged for the insertation -- or implantation of
a spinal cord stimulator by an ambulatory surgical
center?

A Yes. That would be included in the VA
database because that includes all outpatient
facility services, which would be both ambulatory
surgery centers and outpatient hospital surgeries.

Q Let's turn back to Exhibit 76, please.

A Okay.

QO Do you know how many days of inpatient care

the particular patients received in any of these DRG
029 entries?
A Yes.
QO And where is it listed on Exhibit 79? |
A It's not on Exhibit 79.
O Where would it be listed?
A Well, I pulled -- the AHD database shows
for this same line that's in this particular

printout -- I think this -- I'm not sure the year is

 

 

 

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Page 100
the same, This is 2015 for University -- South
Carolina University Hospital. Their average length
of stay for their DRG 29 was 7.4 days, so --

Q T'm sorry. I was not asking -- Ff wasn't
asking the average length of stay. I was asking if
you knew the actual days a particular patient for a
particular entry of DRG 029 stayed in the hospital.

A Well, I don't know them individually, but
the average of all of those at} MUSC was 7.4 days. So
there would be some more and some less.

0 And some for procedures that may not even
include the implantation of a spinal cord stimulator?

A That's possible.

Q It's possible because you just don't know
the answer to that?

A No. That DRG includes neurostimulator
implants as well as certain other back procedures.
But the way that the DRG system works, as I explained
in our report, is that it is designed to represent
relatively homogeneous utilization of resources
within that DRG. So even though it may not include a
specific neurostimulator device, all the patients in
that DRG should be using roughly the same or similar
amount of resources, And so you would expect the

charges to be similar.

 

 

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Page 101

QO Now, let's go to page 5 of your report,

please.
A Okay.
0 Let's look at bullet point number nine.

When you search the American Hospital Directory
database for the DRG 029 entries, you searched
Georgia, South Carolina, and north Florida, correct?
A Correct.
QO And the only entry you found was the one

for the hospital in Charleston, South Carolina?

A Correct.

QO And the American Hospital Directory
database comes from information from the Centers for
Medicare and Medicaid Services; is that right?

A That's correct.

Q Now, going back to Exhibit 76, the
second -- the third column from the right which has
the dollar amounts -- we'll look at University of
Alabama Hospital again at the top. The 89 -- excuse
me, the $98,000 charge, is that the total payment
amount -- | i

A The 98,000 --
-- paid by --

In the third from right column?

 

 

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Yes, sir. i

 

 

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Page 102

A That's the charge amount.

Q Okay. Where is the payment amount?

A The payment amount that Medicare makes is
in the last column. They paid $17,891 for those
patient -- each of those patients. That includes the
hospitalization, room and board, lab, drugs,
anesthesia, x-rays, the device. All those things are
included in the $17,891 payment.

QO Now, all of these directories deal with

average prices, correct?

A The AHD directory reports only average
prices.
Q And that's -- and that includes VA, |

Medicaid, Medicare, CMS, American Hospital Directory,

 

 

PMIC --
A No.
-~ Physicians' Fee Reference?
"No"?
A No,
Q Which one does not deal with average?
A PMIC, VA, PER, those do not report
averages.

Q Okay. Let's talk about the PMIC. The PMIC
book has a discussion in it about super specialist.

Are you familiar with that?

 

 

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Page 103 }

A No.

QO You're not familiar with super specialist
rates in the PMIC book?

A No. . }

0 And that if a doctor is part of the select
group of super specialists they traditionally charge
higher fees for certain procedures?

A I said I'm not familiar with it.

Qo Okay.

A Is that like a super --

Q The PMIC -- sir?
A Never mind. Just a joke.

QO The PMIC book has a 75 percent usual,
reasonable, customary rate; is that correct?

A Correct.

O And it's based on 400 million claims that

have been buiit into the database?

 

 

A Yes.

0 And that would suggest that at least a
hundred million claims are higher than the 75 percent
rate?

A No.

"No"?
Tell me where my logic is breaking down.

A Tt's possible that 25 percent of the claims

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Page 104
would be higher, but the 75th percent -- charge point
at the 75th percentile could be the same number as
the 80th percentile or the 90th or the 100th,

QO You just don't know?

A I don't have the raw data. But the way
percentiles work, it's not, it's not a linear
relationship between the 75th and 90th or even the
100th percentile. It could be incrementally going up
a dollar per percentile or less. It doesn't have to
go up at all. It nas to at least be the same or
greater than the percentile below it.

QO Did you use --

A Mathematicaliy, that's the way it works.

QO Okay. Did you use the PMIC book to deal
with spinal cord stimulators in this case?

A No. Oniy for the professional fee.

Q The ganglion block?

A Well, the professional fee for the
insertion of the spinal cord stimulator and the
ganglion block.

QO Okay. And do you know how many of the
claims listed in the PMIC book for those services
actually came from the Savannah, Georgia area?

A No. And I think you've asked that before

at least once.

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Page 105

QO Okay. Does this PMIC book instruct
providers to never receive 75 -- the 75 percent rate?

A No. |

Q Okay. Does the PMIC book take the position

that anything over the 75 percent rate is

unreasonable?
A No.
Q It's your interpretation that anything over

the 75 percent rate is unreasonable; is that correct?

A I didn't say that.

Q Weil, is that your position in this case?

A I don't think so. I'm saying -- I'm
quantifying how much in excess the projected charges
are above the 75th percentile.

Q Okay.

A The judge or the jury may want to make
their own reasonableness determinations.

QO Well, aren't you going to testify as to
what's reasonable and what's not reasonable in this
case? Aren't you going to use those words in trial?

MS. RICHARDSON: Cbject to the form,
THE WITNESS: Possibly.
Q (By Mr. Kraeuter) Okay. So if you, if you

use.the words that, that the ganglion block

professional charges are more than the 75 percent rate

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of the PMIC book and they are reasonable, aren't you
making that opinion? Aren't you stating that opinion?
Sir?

A - Well, I have stated my opinion in the
report about the ganglion block. And I said that
the, the 75th percentile in the Savannah area is
$766, which is 38 percent of what the plaintiffs'
projected charge is.

QO How come you didn't you use the 90
percentile rate for the PMIC book?

A Again, I think that's been asked and
answered. But, again, the 75th percentile is the
more frequently used threshold in the industry.

Q Now, are Medicare rates typically lower
than prime insurance rates for medical fees?

MS. RICHARDSON: Object to the form.

THE WITNESS: Well, the charges are
generally the same. The payment amount to the
provider does vary based upon the contractual
relationship.

QO (By Mr. Kraeuter) Now, you mentioned on page
5 of your report that you did online research of
peer-reviewed journals?

A Correct.

QO Okay. And did you rely on these

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Page 107
peer-reviewed articles as part of your methodology in

this case?

A It's one of the bases of comparison that we
made.

Q Okay. Let's take a look at Exhibit 81,
please.

A Before we go to that, can we go back to the
question you had about the 90th percentile? As you
will see when you get the printouts of my files, 1!
did compare the ganglion block $2,000 charge to the
90th percentile. And for the Savannah area the 90th
percentile would be $1,023, so the $2,000 projected
charge is almost twice what the 90th percentile would
be. Even though we didn't say that in the report, I
did do the work. It is in the work papers.

QO Okay.

A Okay?

And what exhibit number?

QO S81, please.

A Okay.

Q All right. Was this one of the
peer-reviewed articles that you relied on in this
case?

A Let me look back at -- I'm sorry.

MS. RICHARDSON: No, no, no. You're fine.

 

 

 

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Page i108

THE WITNESS: We got a very small table
here.

Yes. I think it's the one I referred to at
the bottom of page 9; number i4, letter B, in my
report.

0 (By Mr. Kraeuter) Okay. Is this
peer-reviewed article stating an opinion on the

reasonableness of the cost of spinal cord stimulation

implantations?
A I don't think they -- it's not a study of
reasonableness. It's a study that quantified charges

and costs.

QO Okay. And this document was written in
November of 2006, was it not?

A Yes. I believe so,

QO Okay. And in the first page, that second
column down at the bottom it says, “implanted
stimulation devices are relatively expensive." Do

you see that?

A Yes.
Qo Do you agree with that statement?
A Again, I've already answered that. It's

relative in comparison to what? Tt's not --
QO Okay. Well, this is your article.

A It's not expensive relative to, you know,

 

 

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Page 109
open-heart surgery, but it is more expensive than a
Coca-Cola, you know. It depends on what you want to
compare it to.

QO Well, this is an article that you reviewed.
You liked what it said and you relied on it in your
opinion; is that true?

MS. RICHARDSON: Object to the form.
THE WITNESS: I don't have any like or

Gislike about the article. I cited the article

because it contains an independent determination

of what charges and costs are for this type of
device over an extended number of patients and
over an extended period of time, I believe.

QO (By Mr. Kraeuter) All right. Well, let's go
to the next page, the second page of this document.

A Okay.

Q You say that it was an analysis of the cost
over a number of patients. If you look at the top,
there were only 42 participants in this study, were
there not?

A That's correct,

Q Okay. And if you look on the column on the
left of that page under where it says "economic
analysis," it says the costs were incurred and are

reported in 1991 and 1995, United States dollars. Do

 

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you see that?
A Yes, I do.
QO so the costs that were reported are from 21

to 25 years ago, correct?

A Well, it says, "We gathered professional
charge data” in the sentence before that, so I would
agree to that as far as it relates to professional
charge data from John Hopkins.

Q It says, the John Hopkins Hospital billing
department provided data on hospitalization-related
costs, including admission, room, board, operating
room, pharmacy, radiology, laboratory, medical,
surgical supplies, physical, occupational,
respiratory therapy, and other charges. And then it
talks about professional charges.

Do you have any evidence that the numbers
used in this particular article are from any other
time period other than 1991 to 1995?

A I would have to read back through it again
to see.

QO So the short answer, as you sit here today,
you do not have any such evidence, correct?

A As I said, I would have to read through the
article again to see.

0 Okay. Now —-

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Page 111

A But we also point out in my report in
number ten on page 9 that the prices for implantable
medical devices have a history of declining over
time.

Q Now, let's go to the third page of this
document, sir.

A Okay.

0 Under "cost effectiveness" it says, the
mean cost of randomization to spinal cord stimulators

was $31,000 and change. Do you see that, sir?

A Yes.

QO All right. The word "mean" is just another
word for "average," is it not?

A It's not the same.

Q It's not the same?

How is it different, sir?

A I'm sorry. Mean is basically the same as
the average. Yeah, You're correct.

0 Okay. And so when they talk about the
average charge of spinal cord stimulators some 21, 26
years ago, that means that half of the cost to
implant these devices was more than what's recorded
in this peer-reviewed article, correct?

A Yes. And, conversely, half was less,

QO Okay. And if we go further on down that

 

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1 column it talks about the cost per patient who !
2 achieved long-term success with spinal cord

3 stimulators after crossing from reoperation was over

4 $117,000. Do you see that?

5 A The cost per patient who achieved -- with

6 reoperation.

7 QO Tt says, “after crossing from reoperation."
38 A That's what it says. I'm not sure what
9 that means --
10 Q Okay.
11 A -- "crossing from reoperation." |
12 Q Okay. So you don't know if that means that
i3 some people have these spinal cord stimulators need

14 further operations after they get them?

 

 

 

15 A Well, I do know that some patients do

16 vregquire revision.

17 Q Okay. Which would be an added cost?
18 A Yes.
19 QO Okay. Let's look at Exhibit 82, please. :
20 A Okay. |
21 Q Was this one of the peer-reviewed articles |
22 that you relied on in forming your opinions in this
23 case? |
24 A I believe so. . |
25 oO Okay. And this was an article that

 

 

 

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examined twenty -- let's see, 222 case records at the

Cleveland Clinic Foundation between 1990 and 1998?

A Yes.

Q So that's 18 to 26 years ago, correct?
A Yes,

Q And it also talks about the mean patient

total reimbursement. Do you see that, sir?

A Yes.

QO Which, as we've said, is just a fancy word
for "average"?

A Correct.

QO Now, on that first page in the left-hand
column under "results," do you see the words that
say, "Patients treated with spinal cord stimulation,
slash, peripheral nerve stimulation for pain
management achieved reductions in physician office
visits, nerve blocks, radiologic imaging, emergency
department visits, hospitalizations"? Do you see
tnat?

A Yes.

Okay. Do you think that's a good thing?

MS. RICHARDSON: Object to the form.

THE WITNESS: I, I don’t have an opinion
about good or bad, I mean, it's --

Q (By Mr. Kraeuter) Okay.

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A That's part of the report.
Q Do you believe that Jackie Orr should have
more physicians! office visits, more nerve blocks,
more visits to the ER?
MS. RICHARDSON: Object to the form.

THE WITNESS: TI don't have an opinion about

that.

Q {By Mr. Kraeuter) Ckay. The article goes on
and says that the use of spinal cord stimulators
results in a large reduction in heaith care
utilization. Do you see that?

A Yes.

Oo Do you think that's a good thing?

MS, RICHARDSON: Object to the form.

THE WITNESS: Again, I don't have any
opinions about good or bad feelings about any
part of this report.

QO (By Mr. Kraeuter).Okay. In the discussion
section it says, "The reduced demand for health care
resources by patients receiving neurostimulation
suggests that peripheral nerve stimulation and spinal
cord stimulation treatment, although associated with
relatively high initial costs, demonstrates substantial
long-term economic benefits." Do you agree with that

statement?

 

 

 

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MS. RICHARDSON: Object to the form.
THER WITNESS: I agree that the statement is
in the report.
Q (By Mr. Kraeuter) You don't, you don't agree
whether it's true or not?
A I don't know. I've not -- I did not use --
I did not evaluate the report for determination of

truthfulness of any of the statements that are in

here. I only relied --
QO Do you 77
A -- upon it as an additional source for the

general range of what these procedures typically
cost.

Q Do you think it's a good idea to try to
have substantial long-term economic benefits of
reduced costs; reduced medical costs? Do you think
that's a good thing?

MS. RICHARDSON: Object to the form,

THE WITNESS: I don't have any objection to
that. I don't -- you know, I've not thought
about it in terms of developing any professional
opinion about it, though. It's not my --

QO (By Mr. Kraeuter) Okay. It goes on and
says --

A It's not my area of expertise.

 

 

 

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Qo Okay. It goes on on the second column of
that page to say, "Additionally, these cost data
underestimate the true economic impact by failing to
account for the effect of chronic pain on disability
and other social costs, including effects on
morbidity and quality of life, lost earnings, and
reductions in productivity." Do you agree with that
statement?

MS. RICHARDSON: Object to the form.
THE WITNESS: I agree that the statement is
in the report.

QO (By Mr. Kraeuter) Okay. Morbidity, the word
"morbidity," can we agree that means death?

MS. RICHARDSON: Object to the form.
THE WITNESS: I'm not sure of the exact
definition for morbidity. Mortality would

relate to death. Morbidity is something

different, I believe; not quite death.

Q (By Mr. Kraeuter) Okay. The document goes on
ana says, "Management of chronic pain often involves
frequent physician office visits and analgesic use,
emergency department visits and hospitalizations,
numerous radiologic imaging studies, multiple
corrective surgeries, and interventional pain

management procedures." Were you aware of that?

 

 

 

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MS. RICHARDSON: Object to the form.

THE WITNESS: I'm aware that it's in the
report.

Oo (By Mr. Kraeuter) Okay. It goes on to say,
"These treatments are generally administered
repetitively and at great expense and fail to provide
patients with favorable long-term clinical outcomes."
Do you agree with that statement?

MS. RICHARDSON: Object to the form.

THE WITNESS: I'm not a clinician. TI
didn't participate in this study. I've not been
asked to critique this study. And I'm not going
to express an opinion about those parts of the
study or the report.

Q (By Mr. Kraeuter) Okay. Goes on to say,
"Several studies have reported that greater than
50 percent of patients treated with neurostimulation
achieve marked improvement in pain relief." Were you
aware of that?

MS. RICHARDSON: Object to the form.

THE WITNESS: I see it in the report.

Oo (By Mr. Kraeuter) Okay. So you don't have an
opinion on that, even though you relied on this
document to form your opinion?

MS. RICHARDSON: Object to the form.

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Page 118
THE WITNESS: It's one of the sources of
information that's published that deals with

the, the cost of this type of service.

Q (By Mr. Kraeuter) Okay. Further it says,
"Additionally, in patients with advanced complex
regional pain syndrome, neuroaugmentation led to a
50 percent reduction in opioid use and quality of life

was reported to improve in the majority of treated

patients.” Do you see that?
A Yes.
Q You think it would be a good thing for

Jackie Orr to have a 50 percent reduction in opioid

use?
MS. RICHARDSON: Object to the form of the
question.
THE WITNESS: I've got no opinion on those
issues.
Q (By Mr. Kraeuter) No opinion on it?
A Those are clinical issues and lifestyle
issues. I'm not -- I've not been tendered -- or not

been reporting on any professional opinions related
to those issues.

Q Do you think it would be a good thing for
Jackie Orr's quality of life to improve?

MS. RICHARDSON: Object to --

 

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Page 119

O (By Mr. Kraeuter) Is that a good thing, or a
bad thing?

MS. RICHARDSON: Object to the form.

THE WITNESS: If don't have an cpinion on
that.

QO (By Mr. Kraeuter) Okay. -Now, if it were your
wife that's referenced in this report, would you want
her to reduce her opicid use by 50 percent?

MS. RICHARDSON: I'm going to object. This
is getting way too argumentative, Scot.

You do not have to answer that question if
you don't want to.

MR. KRAEUTER: Ms. Richardson, is there a
privilege you're asserting?

MS. RICHARDSON: I'm not asserting a
privilege, but this is argumentative. It's
outside of his scope of expertise. It's outside
of his report. And it's improper. He can do --

MR. KRABEUTER: It's not outside, it's not
outs his report.

MS. RICHARDSON: It's far outside of his
report, Scot, and you know it. But if he wants
to answer it, he can answer it.

MR. KRABUTER: All right. He has

testified, for the record, he has testified that

ashe

 

 

 

 

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Page 120
this is a peer-reviewed article that he relied
on forming his opinion. And TI am
cross-examining him.

MS. RICHARDSON: He relied on a portion of
it, Scot. And you know that you're exceeding
it. He can answer. I've not instructed him not
to answer. | |

0 (By Mr. Kraeuter) Okay. Answer the question,
please, sir. .

A This is not part of the report that I
relied upon. As explained in my report, number 14 on
page 9, these -- there were three studies that we
found in peer-reviewed professional journals that
disclose the cost of neurostimulation or
neuromodulation for treatment of back pain. And
those were generally in the 30,000 to $40,000 range,
and I included copies of abstracts of those studies
and cite them. We're not relying on any other
elements of those reports for my opinions; only the
costs.

Q So if I'm summarizing this correctly,

Mr. Blount, you want to cherrypick the good parts of
these peer-reviewed articles that you believe help
your opinion and disregard anything else that may

not?

 

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Page 121
MS. RICHARDSON: Object to the form.
Q (By Mr. Kraeuter) Is that fair?
A No. I looked for any studies disclosing

costs for these types of devices. These were the
only three that I could find. I did not cherrypick
any to exclude any reports, and I did not search for
reports that had low numbers. I searched for reports
that had these devices in studies that included cost
or charges.

Q Well, Mr, —-

A And I've presented to you all of the

information that we did obtain. Nothing has been

cherrypicked.
Q Mr. Blount, maybe my question was not clear
enough. I'm not suggesting you cherrypicked from

different peer-reviewed articles and went with the
best of the articles out there. I'm asking whether
you cherrypicked the contents within the very
peer-reviewed articles you state you rely on for your
opinion. You want to take out the parts of the very
peer-reviewed articles that you like, but disregard
other parts; isn't that true?

MS. RICHARDSON: Object to the form.

THE WITNESS: No. .That's not true.

 

Q (By Mr. Kraeuter) Okay. Let's go to Exhibit

 

 

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83, please.

A Okay.

Q Is this a peer-reviewed article you relied
on in formulating your opinion?

A I believe so,

Q Okay. And this article was written by it
looks like three doctors from Canada? |

A Yes.

QO Okay. And —--

A Well, I’m not sure where they're from.

They have Canadian medical affiliations, though.

QO The hospitals that they have privileges at
are in -- I can't even say it. Sakas --

A Saskatchewan.

Q Saskatchewan, Canada; is that right?

A Yes. But that doesn't prove where they're

from. JI mean --

oO Okay.

A -- they could have been born in
Afghanistan, for all I know.

QO Well, let me rephrase it.

A Okay.

QO This article was written by three doctors
that practice in Canada, correct?

A That's correct.

 

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Page 123

Q All right. Now, looking at page 107 of the
article, first column under "patient selection” it
says, we have a large database that includes 350
patients who have undergone SCS, spinal cord
stimulation, in the past 20 years. Do you see that?

A Yes.

QO And this paper was written back in 2001?

A Yes.

O So we're looking at data that automatically
is 15 years old, correct?

A Correct. Well, part of it.

Q Okay. And the data could go as far back as
about 1980 since it's 20 years of data, correct?

A Yes.

Q So that makes the data up to 36 years old,
correct?

A Yes.

QO Now, looking at the bottom on page 107 it
says, "To non-Canadian readers, the" low -- excuse
me, "the cost calculations presented in this article
may seem low, compared with their experience in the
United States." And it goes on to say, "The lower
financial costs are attributable to differences in
pricing by the manufacturer of the implantable

devices used and” tightening -- "and tight regulation

|

 

 

 

 

 

 

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schedules for various professional organizations."

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Page 124 |

by the provincial or federal government of the fee

That's talking about Canadian fees, right?
A That's correct,
0 And we can agree that in Canada the cost of

medical care is much different than in United States?

A It's different.

QO Correct,

A It's different. I'm not sure what you mean
by "much."

OQ I see,

Let's go to page 108 where it talks about |
the "costs of implantable devices." It says, the
costs for implantable devices were calculated from
the 2000 price list provided by the manufacturer,
Medtronic of Canada, as charged to Canadian
hospitals. Do you see that?

A Yes.

Q Okay. Anywhere in this article that talks
about the charges at American hospitals?

A I'm not sure. I was looking for a part of
the study that may have disclosed a factor that they
used to determine the U.S. equivalent, but that could
be in one of the other three studies. I'm sorry, the [

other two studies. So this could be Canadian only.

 

 

 

 

 

 

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Page 125
O Okay.
A I don't —- I'd have to go back and review
the report in detail. It's a lot of fine print.
QO Now, further on down that column it says,
"The pulse generator needed to be replaced after 3.5
to 4.5 years, the average lifespan of its battery."

Do you see that?

A Which page again are you on?

Q 108.

A Okay. Just a minute.

Q Just below where it says "costs of

implantable devices."

A In that same section of costs?

Q Yeah. It says, “The pulse generator."

A Okay. On, I see it. Yes. I see that now.
Yes.

Oo Okay. Now, I think Dr. Niederwanger said
it needed to be replaced every 7 to 10 years?

A Yes; the, the battery life over at least
recent years. I don't profess to know about these
things going back 20 years ago, but I think there's
multiple manufacturers now that say that their
battery will need to be replaced every 10 years.

Q Okay. So you --

A Battery life has extended over time as

 

 

 

 

 

 

 

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Page 126
technology has advanced.
Q Okay. And at the bottom of that column,
the very last sentence it says, "The fees paid to the
various physicians and surgeons in the study were

derived from the year 2000 payment schedule for the

Saskatchewan Medical Association." Do you see that?
A Yes,
Q Does that have any bearing on rates in the

United States?

A I think they're -- they have some
similarity.

Q Let's go to page 114 of the article,
please, sir.

A Okay.

QO Down at the bottom of the page in the
second column, the right-nand column, it says, "The
absolute derived costs may not be directly comparable
to those encountered and may be lower than those in
the United States or Europe. This difference is a
consequence of the nature of the medical delivery
system in Canada and differences in pricing by the
manufacturer in different countries, which limit
absolute costs." Do you see that?

A Not yet. Which paragraph are you in?

Q Very, very bottom of page 114. The last

 

 

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sentence on the right column is where it starts, and
it goes on to page 1125.
A Oh, okay.
I think you read that correctly.
QO ‘Okay. So do you agree with that statement?
MS. RICHARDSON: Object to the form.
THE WITNESS: I agree that it's in the
report.

Q (By Mr. Kraeuter}) Okay. You don't agree that

rena a

pricing in Canada is much different and, in fact, lower
than pricing in the United States and costs in the
United States?

A Well, it says it "may be lower." It
doesn't say ~~

QO Mm-hmm.

A The word "much" is not, I don't think, in

this paragraph.

 

 

OG Okay.
A It says it "may be lower.”
0 Have you undertaken in this case to do any

study to determine the relative difference in pricing

and costs for medical care in Canada and the United

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States?
A No.
9 Let's take a look at Exhibit 84.

 

 

 

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Page 128 |
A Okay. |
Q Did you rely on this peer-reviewed article?
A No, but it looks somewhat familiar. I

recognize the author's name Kumar, but it's not cited
in my report. But, see, this -- I think I have read
this. And it does contain both U.S. dollar and
Canadian dollar amounts.

Q Well, let's take a look at page 8 of your
report, please, sir. Down at the bottom you talk
about independent research on spinal cord stimulation |
costs. Do you see that, sir?

A Yes. Oh. Yes. This is that article.
This is referring to that article.

O Okay. So you did rely on this in forming
your opinions in this case?

A Yes.

QO Okay. And this is also, again, written by
Dr. Kumar, the Canadian doctor?

A Yes.

0D Okay.

A So I do have this.

OQ And this article was written in 2009?

A Correct.

QO And I believe if you look on the method

section of the first page it analyzed 197 cases

 

 

 

 

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between 1995 and 2006?
A Yes.
QO Okay.
A I believe this is the most recent study
that we could find.
Q Okay. And in there it has a cost for Blue

Cross/Blue Shield, which is private insurance?

A Yes,

QO And the Blue Cross/Blue Shield cost back in

2009 was $57,896 to implant a spinal cord stimulator?

A That's what they report.

oO Okay. And Medicare costs were $32,882; is
that right?

A Yes. That's what it says.

0 So there's a difference between Blue
Cross/Blue Shield costs and Medicare costs, correct?

A Yes. And I believe they're referring to
the amount of the reimbursement; the payment.

Q Does -- is there anywhere in this article.
that talks about what's charged?

A i'm not sure. I'd, again, have to go back

and read all the words. A lot of times I've seen in

studies —- other studies, not necessarily this one --

but the researchers sometimes confuse the term

“charge” and "cost," as you have in some of your

 

 

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questions. But —--

QO Tne same question -- I would have the same
question for exhibits 81, 82, and 83. Do any of
those reports deal with what's paid versus what's
charged for the spinal cord stimulator?

A Yes. I believe the 2007 study collected
charge data for the 42 patients.

Q And it looks like the, the cost for annual

maintenance under Blue Cross/Blue Shield is $7,277?

A Yes.

0 Back in 27009?

A I believe so.

0 Or, I guess, somewhere between 1995 and

2006, to be accurate?
A Well, the $7,277, the amount that's quoted
in the result, is part of the report.
Q Right.
And that's for data between 1995 and 2006?
A Yes,

0 Now, it looks like if we go to page 566 of

the study --
A Okay.
Qo -~ in that first column where it says,

"Cost comparison with the United States" --~

A Yes.

 

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Page 131
QO Okay. It says, "We have chosen the payment
schedule from the state of Texas." Do you see that,
sir?
A Yes.
QO ts Jackie Orr from Texas?
A I'm not sure where she's from.

Okay. Do you know what it means when they
say, "We've chosen the payment schedule from the
state of Texas"?

A Not exactly.
QO Do you know if that's a reference to a

Workers' Compensation fee schedule for physicians and

hospitals?
A It doesn't say that.
QO Okay. Do you know if it's Medicare charges

or payments from the state of Texas?

A Weil, it says they're using two major
insuring agencies in the United States, Medicare and
Blue Cross/Blue Shield. So if they said that in the
proceeding sentence, I would assume that's the, the
sources that they're referring to in the next

sentence. Why would I assume --

QO Do you --
A —- that it would be Workers' Comp?
0 Do you know that for a fact?

 

 

 

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A Well, it certainly makes more sense than

guessing that it would be Workers' Compensation,

QO Sir, my question was: Do you know that for
a fact?
A The sentence before that says that they,

"To provide a clear understanding of the financial
impact for implanters in the U.S., we are providing a
parallel analysis of our frequency data, using the
payment schedule of two major insuring agencies in
the United States, comma, namely, Medicare and BCBS,
period. We have chosen the payment schedule from the
State of Texas, as it most closely approximates the
mean payments for the country." I think it's a
logical inference that the second sentence reference
to payment schedule is the same payment schedule
referred to in the immediately preceding sentence.

Q All right. Do you know if this Texas
payment schedule that's referred to in the document
is the same as Savannah, Georgia medical charges for

the same services?

A I do not know.

QO Let's take a look at page 567, please.

A Okay.

QO Okay. The table -- excuse me. Let me see

here,

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Page 133

Tim sorry. Let's go to page 568.
Okay.

Table 4, there's a reference to a

rechargeable device. Do you see that; rechargeable

system?
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I don't see it yet. In the table on

Table 4.

Oh. Table 4. Okay.

Table 4 at the bottom of the page.

Okay. Yes. I see that.

Okay. And it says, "US MC." Do you know
stands for?

No. I'm not certain.

Okay. It's listing U.S. dollars; USD,

Yes.

And it has a rechargeable system of over

Yes.

Okay. Do you know what that rechargeable
they're referring to?

Not without reading the report again.
Let's go to Exhibit 85, please. Do you

in front of you?

 

 

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A Yes,

Q Is this a document that you relied on in
formulating your opinion, or opinions in this case?

A Yes. We cite that in number ten on page 9
of my report.

QO Where did this document come from?

A Page 15. Well, I have the web link i
footnoted number 15 on number -- page number 9,

0 Okay.

A Apparently somebody in your office found it
because they printed it out.

OQ And this document examined empirical
evidence on reported average price trends for several
major categories of implantable medical devices over
the period 2007 through 2011; is that correct? u

A That's correct.

Q Okay. And it does not address the price
trend after 2011, correct?

A Correct.

QO Do you know what the price trend has been

for implantable medical devices since 2011 to today? |

i

A No. I have searched for --
QO Okay.

A -- studies that would disclose that; have |

not found one yet.

 

 

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QO Now, let's talk about the study, scope, and
approach. Okay? They looked at the average pricing
data for selected device categories. Do you see
that?

A Yes.

Q And they looked in the following seven
categories of medical devices: Cardiac
resynchronization therapy defibrillators, implantable
cardioverter defibrillators, pacemakers,:. artificial
hips, artificial knees, drug eluting stents, and bare
metal stents. Do you see that, sir?

A Yes.

QO Is a spinal cord stimulator referenced
anywhere in the category of devices that were part of
this particular study?

A No.

QO Now, Mr. Biount, can we agree that many
private insurance carriers say that a doctor or an
ambulatory surgical center can bill above the 75
percentile usual, reasonable, and customary charge
amount and still be reasonable?

A Tt's possible.

Q In fact, the Veterans Administration say
you can go as high as 80 percent, correct?

A That's not what they say.

 

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O I see,
Now, if a doctor bills above the 75 percent
rate or the 80 percent raté, does that mean the

doctor's committing fraud?

A No.

Qo Dees that mean the doctor's violated some
law?

A Not that I know of in Georgia; maybe some

other states.

Q Okay. Are any of the charges in either
Dr. Niederwanger or Harben's reports under the
uniform customary and reasonable rates -~ the usual,
customary, and reasonable rates?

A Possibly.

QD Okay. Did you look at all of the, all of
the future medical charges that Dr. Niederwanger and
Dr. Harben have recommended in this case?

A I have the list --

QO Okay. And --

A -- from at least Dr. Plumly.

QO Okay. And in looking at that list, do any
of those charges come underneath or below the usual,
customary, reasonable charge rate?

A Tt's, it's almost impossible to tell

because he did not provide the specificity of CPT

 

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codes for a lot of these things. So it's -- you
know, I had a limited ability to evaluate some of his
data, or charges. Those that I did evaluate I have
provided the information for in the report, or in the
material that is included in my other research file
that I've provided to you now.

QO Now, is there any law in the State of
Georgia that says what is reasonable and not -- what

is not reasonable in regard to medical bills?

A I don't know,

QO Okay.

A You'd have to consult --

QO Is there any rule -- go ahead.

A You'd have to consult with an attorney on

that, probably.

QO ‘All right. Is there any rule or law that
you know that dictates what a doctor's office or an
ambulatory surgical center can charge a patient that
doesn't have insurance or Medicaid or Medicare or VA
benefits?

A I think there's a law that says you can
only charge for what you do.

Oo Okay. But in terms of setting the rate for
what you do is there any such law or rule?

A Maybe in the Worker Comp area of the law.

 

 

 

 

 

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QO Okay. How about for someone that doesn't
have Comp, VA benefits, Medicaid benefits or private
insurance or Medicare? Any law or rule that says
what a doctor has to charge, or may charge?

A Not that I know of, but I don't profess to
have the ability to opine on what the law says.

QO Do you know what the cost of medical care
would be if someone walked in off the street to
Dr. Harben, Dr. Niederwanger, or the ambulatory
surgical center that Optim has for the same type of
procedures that we've been talking about in this
case?

A No. I don't have their fee schedule. |

Q Do you agree that Jackie Orr is entitled to

have a doctor of her choice?

A I guess.
Q Okay.
A I've not been asked to opine on that, but I

don't know any reason why she shouldn't.
QD In the Savannah, Georgia area, can we agree
that different doctors charge different amounts for

their services?

A Some do. Some charge the same as other
doctors. It does vary.
Q And as a general rule, there's nothing

 

 

 

 

 

 

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wrong with dectors charging different amounts for the:
same service?

MS. RICHARDSON: Object to the form.

THE WITNESS: I'm not sure what "wrong"
means; if you mean illegal. I don't, I don't
know of a law that would prohibit them from
charging a different amount.

QO (By Mr. Kraeuter) Well, do you think it's
improper for different doctors to charge different
amounts for the same services?

MS. RICHARDSON: Object to the form,

 

 

THE WITNESS: Not necessarily. You know,
if one doctor is charging, you know, ten times

what the other doctors charge that would seem to

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be at least questionable and certainly out of

the market range. I mean, if I was spending my

money I would not want to spend ten times what

everybody else is charging.

Q (By Mr. Kraeuter) Can we agree that sometimes
better doctors charge more than other doctors that
aren't quite as good?

MS. RICHARDSON: Object to the form.

 

 

THE WITNESS: I'm not sure how you would
measure good and not guite as good, though.

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i
QO (By Mr. Kraeuter) Well, can we agree that a |

 

 

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board-certified physician may charge more than one --
tnan a doctor that's not board certified?

MS. RICHARDSON: Object to the form.
THE WITNESS: They could; or they could
cnarge less.

Q (By Mr. Kraeuter) Okay. Now, you do agree
that the doctors should be paid for their medical care
and treatment that they're rendering?

A Yes.

MS. RICHARDSON: Did we lose sound?

QO (By Mr. Kraeuter) Now, are you eware of
whether somebody like Jackie Orr can go to their
physician and tell the physician what she will or will
not pay for medical services?

A Yes. She can do that.

Q Do you know the likelihood of success she
would have in doing that?

MS. RICHARDSON: Object to the form.

THE WITNESS: No.

0 (By Mr. Kraeuter) Okay.
A I don't know the chance of success.
Q Have you ever gone to one of your

physicians and said, "Look, I'm not going to pay a
hundred dollars for this procedure, but I'll pay you

75"?

 

 

 

 

 

 

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Have you ever negotiated with your

physician?

A
Q

A

Q
A

more common now with very nigh deductibles on
insurance plans.
savings accounts wili do that,
experience.
have cropped up on the internet that offer the iH
ability for individuals to outsource that negotiation

process.

as

to

Q

like Jackie Orr to know what a CPT code is?

A

Yes,

those numbers.

No,

Or any medical care provider?

Yes.
How many times has that happened?

I don't recall,

MR.

KRABEUTER: And I'll object to that

T

but it is becoming much

And many people wno have health

know from

And there are a number of services that

-- to that response as speculative.

MS.

near.

(By Mr. Kraeuter) Would you expect someone

I don?t know.

RICHARDSON: ‘That's not what ne wanted

I don't know her background.

She could be a nurse for all I know.

Q
A

Would you expect her --

She

could be --

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QO Go ahead,

A She could be a nurse or a coder or maybe
has looked at her explanation of benefits if she's
had insurance. A lot of times CPT codes are included
on EBOBs, and many times they include a brief
explanation of what that CPT code definition is.

QO Would you expect Jackie Orr to know what
"usual, customary, and reasonable” means regarding
medical expenses?

A I have no idea,

Q Okay. Would you expect her to know what
the range of reasonable medical charges are?

A Not necessarily, but, I mean, she could
call and ask.

QO Okay. You're not saying in this case that
Jackie Orr had any involvement in setting the amount
of the future medical charges in this case, are you?

A That's certainly not in my report.

0 What's that?

A Tt's certainly not stated in my report.
QO Okay.
A I've not even thought about that until you

mentioned it.
QO Now, we talked earlier about someone like

Jackie Orr as a patient going to the doctor and

 

 

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asking the doctor to reduce their medical bill. Is
the doctor legally required to do that?
A No.
QO Is there anything that would compel the a

 

 

doctor to do that or force the doctor to do that?

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A Maybe compassion.

Q Okay. And if the doctor doesn't reduce
their charges and the patient doesn't pay the portion
that they're responsible for, they can be sent to
collections, can't they?

MS. RICHARDSON: Object to the form.
THE WITNESS: I don't know. Possibly.

9 (By Mr. Kraeuter) Okay. Now, in this case if
the jury does not award Jackie Orr some of her medical
bills as damages in the case and her physicians don't
reduce what they've charged her for the medical care,
she's the one that's going to have to make up the
difference, isn't she? She's the one that's going to
have to pay, is she not?

MS. RICHARDSON: Object to the form.
THE WITNESS: I don't know. I don't know
what her arrangement is with the physician or

the ambulatory surgery center.

Q (By Mr. Kraeuter) Now, one of the ways to

look at the reasonableness of medical bills is to look

 

 

 

 

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at the cost for the medical provider to provide the
services; is that correct?

A That methodology f think is rarely done.

QO. But it's -- it is a methodology? It is an
approach, is it not?

A Yes.

Q And, in fact, it's one that the medical --
that the American Medical Association says is an
accepted approach to setting rates, fees and charges,
correct? .

A I have heard other people say that. I've
never seen the actual publication from AMA saying
that.

9 Okay. All right. So if a physician or
ambulatory surgical center has a certain type of
specialized equipment that costs more than perhaps
another surgery center down the road or a hospital
doesn't have such advanced equipment, but that
equipment costs more, the specialized equipment costs
more, it would be appropriate for the doctor or the
surgery center to charge more because their overhead
is higher because they have better equipment,
correct?

MS. RICHARDSON: Object to the form,

THE WITNESS: Some of your assertion there

 

 

 

 

 

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